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                EXHIBIT 1
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                                        (b) Agency Heads shall take all necessary steps, in coordination with
                                     the USDS Administrator and to the maximum extent consistent with law,
                                     to ensure USDS has full and prompt access to all unclassified agency records,
                                     software systems, and IT systems. USDS shall adhere to rigorous data protec-
                                     tion standards.
                                        (c) This Executive Order displaces all prior executive orders and regula-
                                     tions, insofar as they are subject to direct presidential amendment, that
                                     might serve as a barrier to providing USDS access to agency records and
                                     systems as described above.
                                     Sec. 5. General Provisions. (a) Nothing in this order shall be construed
                                     to impair or otherwise affect:
                                        (i) the authority granted by law to an executive department or agency,
                                        or the head thereof; or
                                       (ii) the functions of the Director of the Office of Management and Budget
                                       relating to budgetary, administrative, or legislative proposals.
                                       (b) This order shall be implemented consistent with applicable law and
                                     subject to the availability of appropriations.
                                       (c) This order is not intended to, and does not, create any right or benefit,
                                     substantive or procedural, enforceable at law or in equity by any party
                                     against the United States, its departments, agencies, or entities, its officers,
                                     employees, or agents, or any other person.




                                     THE WHITE HOUSE,
                                     January 20, 2025.


[FR Doc. 2025–02005
Filed 1–28–25; 11:15 am]
Billing code 3395–F4–P
